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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                CASE NO. 09-MD-02036-JLK



   IN RE: CHECKING ACCOUNT
   OVERDRAFT LITIGATION

   MDL No. 2036



   THIS DOCUMENT RELATES TO:
   FIFTH TRANCHE ACTION

   Childs, et al. v. Synovus Bank, et al.
   N.D. Ga. Case No. 1:10-CV-03027-ODE
   S.D. Fla. Case No. 1:10-CV-23938-JLK



                       REPLY MEMORANDUM IN SUPPORT OF
                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION


                /s/ Aaron S. Podhurst                    /s/ Bruce S. Rogow
                Aaron S. Podhurst, Esquire               Bruce S. Rogow, Esquire
                Florida Bar No. 063606                   Florida Bar No. 067999
                apodhurst@podhurst.com                   brogow@rogowlaw.com
                PODHURST ORSECK, P.A.                    BRUCE S. ROGOW, P.A.
                City National Bank Building              Broward Financial Center
                25 W. Flagler Street                     500 E. Broward Boulevard
                Suite 800                                Suite 1930
                Miami, FL 33130                          Fort Lauderdale, FL 33394
                Tel: 305-358-2800                        Tel: 954-767-8909
                Fax: 305-358-2382                        Fax: 954-764-1530


                                Co-Lead Counsel for Plaintiffs
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                                  I.      INTRODUCTION
          In opposing class certification, Defendants Synovus Bank and Synovus Financial Corp.
   (collectively, “Synovus” or “the Bank”) argue that class certification is not appropriate in “this”
   case based on “this” record. See DE # 3810, pp. 1-4. Synovus, however, would have the Court
   ignore the undisputed evidence in this case regarding the uniform, automated scheme
   perpetuated by the Bank for the specific purpose of increasing overdraft revenue at its customers’
   expense. Like many of its fellow bank-defendants, Synovus attempts to take the focus away
   from its wrongful behavior by asking the Court to consider the irrelevant purchasing behavior
   and financial circumstances of individual Class members and resorts to ad hominem attacks on
   the Class representatives. As in previous cases, these efforts fail because the irrelevancies urged
   by Synovus have no bearing on the unlawfulness of its conduct, or the elements of Plaintiffs’
   claims. As Plaintiffs’ Trial Plan demonstrates, proof of all claims at trial will rely on common
   evidence, and any existing variations in the state laws at issue can be successfully managed in a
   fair and efficient manner. Accordingly, class certification is warranted.1
                     II.    ARGUMENT AND CITATION OF AUTHORITY
   A.     This Court’s Other Class Certification Decisions Support Certification Here.
          Synovus argues that the Court should ignore its six prior certification orders as to other
   banks in this MDL, all of which the Eleventh Circuit declined to review pursuant to Rule 23(f).2
   The similarity of the prior cases is pronounced, and this Court’s prior certification decisions
   stand as models for how to proceed here.
          This Court has already found that the sub-classing proposed by Plaintiffs is consistent
   with Eleventh Circuit guidance and supports certification. E.g., Comerica, 286 F.R.D. at 661;
   also Klay v. Humana, Inc., 382 F.3d 1241, 1262 (11th Cir. 2004). As this Court recognized, the


   1
      Given that Synovus has requested oral argument, Plaintiffs do not submit a proposed order
   herewith. Plaintiffs will submit a proposed Order following oral argument if the Court requests
   it.
   2
    See In re Checking Account Overdraft Litig., 286 F.R.D. 645 (S.D. Fla. 2012) (“Comerica”); In
   re Checking Account Overdraft Litig., Order Granting Class Cert., DE # 2847 (S.D. Fla. July 19,
   2012) (“Capital One”); In re Checking Account Overdraft Litig., Order Granting Class Cert., DE
   # 2697 (S.D. Fla. May 16, 2012) (“PNC Bank”); In re Checking Account Overdraft Litig., Order
   Granting Class Cert., DE # 2673 (S.D. Fla. May 4, 2012) (“BancorpSouth”); In re Checking
   Account Overdraft Litig., 281 F.R.D. 667 (S.D. Fla. 2012) (“TD Bank”); In re Checking Account
   Overdraft Litig., 275 F.R.D. 666 (S.D. Fla. 2011) (“Union Bank”).

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   standard for a contract-based good faith and fair dealing claim is an objective one that is
   independent of the desires of individual class members, and thus may be proven on a class-wide
   basis. E.g., Union Bank, 275 F.R.D. at 680 (“a breach of the duty [of] good faith and fair dealing
   may be shown by class-wide evidence of a defendant’s subjective bad faith or objectively
   unreasonable conduct”).    The Restatement recognizes that “[s]uch a writing is interpreted
   wherever reasonable as treating alike all those similarly situated, without regard to their
   knowledge or understanding of the standard terms of the writing.”             See RESTATEMENT
   (SECOND) OF CONTRACTS § 211 (emphasis added); see also In re Chase Bank USA, N.A. “Check
   Loan” Contract Litig., 274 F.R.D. 286, 290 (N.D. Cal. 2011) (“the reasonable expectations of
   the class are measured by an objective standard, and, as plaintiffs argue, can be determined here
   with evidence common to the class”); Clancy v. King, 954 A.2d 1092, 1108 (Md. 2008) (where
   personal taste does not provide the basis for the exercise of discretion under a contract, an
   objective standard of what constitutes good faith and fair dealing applies). The focus is on the
   Bank’s conduct in relation to the contractual language. Despite Synovus’ claims of novelty, its
   arguments have been raised previously by other banks, and rejected.3
   B.     Synovus Re-ordered Transactions to Maximize Overdraft Fees.
          In a clever sleight of hand, Synovus asserts that it does not re-order transactions to
   maximize overdraft fees because it posts deposits first rather than in chronological order. See
   DE # 3810, pp. 17-18. There are numerous flaws to Synovus’ argument, the first being that all
   major banks post credits (deposits) to a customer’s account prior to debits, so Synovus’ practice
   does not differentiate the Bank from the other financial institutions who engaged in the same
   practices to maximize overdraft fees. See Carrubba Depo., pp. 40-41 (Ex. A hereto); Keeley
   Depo., pp. 37-38 (Ex. B hereto) (conceding that all major banks post credits first). Indeed while
   the Bank’s expert Paul Carrubba claimed that he had heard of banks that posted debits before
   credits, when asked specifically, he could not identify any such banks. See Carrubba Depo., p.
   41. Synovus did not post credits first out of its own benevolence. If anything it did so because
   that was the industry norm. See Carrubba Depo., pp. 40-41; Keeley Depo., pp. 37-38.


   3
     Synovus’ deceptive practices are eerily similar to those of many other banks because it worked
   with the same consultant – Carreker Corporation – to enhance its overdraft fee revenues in
   substantially the same way. See DE # 3547, pp. 9-11, 16-17 (highlighting Carreker
   involvement).

                                                   2
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           Second, Synovus’ claim that it did not re-order transactions to maximize overdraft fees is
    directly contrary to the evidence described by Plaintiffs in their motion that established that the
    Bank consulted with Carreker, a third party contractor in the business of advising banks about
    “ways they can modify their practices to generate more revenue.” See DE # 3547, pp. 8-10.
    Carreker’s recommendations as to ways that Synovus could drive higher fee income were so
    successful that Carreker, which had been retained on a contingency basis, made millions of
    dollars due to the success of its recommendations.        Id.   Ironically, Synovus’ expert Paul
    Carrubba, on whom the Bank relies for the notion that posting credits first proved Synovus was
    not about maximizing overdraft fees, is a former Carreker employee who initially worked in
    Carreker’s “revenue enhancement” division. See Carrubba Depo., pp. 40-43. It is no surprise
    that Mr. Carrubba opines that the same revenue enhancement initiatives he formally pitched are
    legitimate. In short, the Bank’s claim that its “revenue enhancement” overdraft practices were
    not designed to maximize revenue is specious.
    C.     The Class Definition Is Sufficient.
           Plaintiffs’ proposed Class definition adequately describes a Class that is ascertainable
    through objective criteria. E.g., Comerica, 286 F.R.D. at 650-51. That definition is clear,
    definite, and does not depend on subjective standards or resolution of the merits. MANUAL FOR
    COMPLEX LITIG. (FOURTH) § 21.222, at 393 (2004). Synovus’ attempts to divert the analysis into
    subjective, irrelevant inquiries should be ignored.
           1.      There Is No Conflict Between the Class Definition and Mr. Olsen’s
    Methodology. Plaintiffs can identify Class members by programmatically determining, using
    the Bank’s data, which customers incurred additional overdraft charges under the Bank’s high-
    to-low posting practice as compared with the low-to-high sequencing portrayed online (and
    identified in Plaintiffs’ second amended class action complaint), which yields the lowest number
    of overdraft fees and therefore defines the outer parameters of the membership of the proposed
    Class. E.g., Second Am. Class Action Comp., ¶¶ 59-74 (DE # 2941) (comparing overdraft fees
    incurred for Plaintiffs Childs and Green under high-to-low and low-to-high methods); DE #
    3547-29 (online account history shows transactions in low-to-high order); DE # 3547-8 at 96:12-
    15, 96:24 – 97:2, 99:15 – 100:2, 104:18 – 105:6 (Bank acknowledging that a low-to-high posting
    order results in less fees). This determination can be made by Plaintiffs’ expert Mr. Olsen in
    advance of distributing Class notice. See Olsen Decl., ¶¶ 42, 45 (DE # 3547-59).


                                                     3
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           Despite this clarity, Synovus argues that there is a conflict between the Class definition
    and the methodology used by Mr. Olsen. See DE # 3810, pp. 7-8. Synovus’ argument is
    baseless. Plaintiffs do not seek to certify a class of “any person who had an (singular) overdraft
    charge on a given day” as the Bank asserts. Id. at 5. Such a claim ignores the second half of the
    Class definition that refers to fees incurred “as a result of Synovus’ practice of sequencing debit
    card transactions from highest to lowest.” This qualifier makes all the difference in the world.
    As Plaintiffs’ expert Mr. Olsen testified, his initial “screen” identifies customers who incurred
    two or more overdraft charges on any given day, and then, through further analysis, determines
    whether any of those charges would not have been incurred had the Bank employed an
    alternative posting order. See Olsen Depo., pp. 120:5 – 125:5 (Ex. C hereto). Mr. Olsen’s
    methodology sufficiently identifies the Synovus customers who incurred an overdraft fee “as a
    result of Synovus’ practice of sequencing debit card transactions from highest to lowest.” See
    DE # 3547, p. 1.
           Moreover, this Court adopted nearly identical class definitions in other cases in this
    MDL.4 And the proposed definition here is also very similar to the definition adopted by Judge
    Alsup in Gutierrez v. Wells Fargo Bank, N.A., which was not altered on appeal or remand. 730
    F. Supp. 2d 1083, 1087 (N.D. Cal. 2010), rev’d in part on other grounds, 704 F.3d 712 (9th Cir.
    2012), verdict reinstated, 944 F. Supp. 2d 819 (N.D. Cal. 2013) (maintaining $203 million
    judgment). Synovus presents no valid reason to depart from these authorities.
           2.      The Class Definition Need Not Identify an Alternative Posting Method.
    Determining membership in the Class does not pivot on first deciding the appropriate alternative
    posting “scenario” for purposes of measuring damages. The fact-finder’s determination of the
    appropriate alternative posting “scenario” will only affect which Class members are entitled to
    recover and how much, not who is part of the Class that will be bound by the judgment. See
    Union Bank, 275 F.R.D. at 673 (determining which alternate posting order would be selected
    was not necessary at class certification, because regardless of which one will be selected, “Mr.
    Olsen can identify which . . . customers incurred additional overdraft fees as a result of high-to-
    low . . . [posting] by comparing that re-sequencing to each of the alternative posting scenarios”)
    (emphasis added). A judgment for Plaintiffs using a different comparator (say, chronological)

    4
     See Union Bank, 275 F.R.D. at 680; TD Bank, 281 F.R.D. at 682; Comerica, 286 F.R.D. at 661;
    Capital One, p. 37; PNC Bank, p. 23; BancorpSouth, p. 22.

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    would still bind all members of the Class and “will, if anything, only vary the amount of
    damages.” Comerica, 286 F.R.D. at 651; see also Klay, 382 F.3d at 1259-60.
           By attempting to place a burden on Plaintiffs to prematurely identify a baseline
    alternative posting methodology at the class certification stage, Synovus improperly asks the
    Court to determine in advance which alternative posting methodology would satisfy the Bank’s
    legal obligations. Compare DE # 3810, p. 68 (claiming Plaintiffs must select an alternative re-
    sequencing order so Class members can be identified), with Union Bank, 275 F.R.D. at 673.
    Synovus offers no sound reason to depart from the Court’s prior rulings on this issue.
    D.     There Are No Problems with Mr. Olsen’s Methodologies.
           Synovus’ attempts to poke holes in Mr. Olsen’s methodologies are unpersuasive. See DE
    # 3810, pp. 16-26.
           1.      Defendants’ Claim that a Single, Rigid Damages Model Is Required Is
    Nonsensical. Synovus suggests that it is problematic that the alternative posting method that is
    ultimately employed may differ from case-to-case. See DE # 3810, pp. 18-19. As noted above,
    the selection of which alternative posting method to utilize is something that will be determined
    by the fact-finder, not Synovus, and thus that determination could be different from bank-to-bank
    and case-to-case. Moreover, even Defendants’ expert, Mr. Keeley, conceded that he was not
    advocating that Mr. Olsen be required to rigidly apply his methodology from Gutierrez across all
    cases within this MDL. See Keeley Depo., pp. 47-48.
           2.      Synovus’ Purported Hypothetical Concerns that Mr. Olsen’s Methodology
    May Find “Harm” Where There Is None Do Not Impact Class Certification.                        After
    complaining at length about Plaintiffs’ failure to identify an alternative posting scenario,
    Defendants arbitrarily assign a particular scenario and then complain that said methodology may,
    hypothetically, result in the finding of harm in instances where there should be none. See DE #
    3810, pp. 20-22. But without establishing that Plaintiffs have a legal basis for pursuing this
    alternative over others, there is no real conflict, just an imaginary one, which is insufficient to
    defeat class certification. See Ward v. Dixie Nat’l Life Ins. Co., 595 F.3d 164, 180 (4th Cir.
    2010) (“a conflict will not defeat the adequacy requirement if it is merely speculative or
    hypothetical”) (internal quotation marks omitted).
           However, even if some conflict relating to alternative posting orders existed, it would still
    not preclude class certification. Conflicts concerning the measurement or calculation of damages

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    do not preclude certification. See Blackie v. Barrack, 524 F.2d 891, 908-10 (9th Cir. 1975)
    (finding that certification of a class was proper even where the interests of class members in
    calculating damages might conflict); see also In re Cendant Corp. Litig., 182 F.R.D. 476, 479
    (D.N.J. 1998) (same); In re One Bancorp Sec. Litig., 136 F.R.D. 526, 532 (D. Me. 1991) (same).
    Defendants’ hypotheticals about harm being found when there may not be any do not preclude
    certification.
            3.       Synovus’ Complaints About the “Realities and Consequences of Partial Re-
    sequencing of Transactions” Are Overstated. Synovus next takes issue with Mr. Olsen’s
    methodology (which posts debit card transactions before checks) by arguing that it results in the
    return of checks (for insufficient funds) that would not otherwise have been returned. See DE #
    3810, pp. 22-24. The Bank’s arguments are overstated for several reasons. First, Synovus’
    arguments are based on the erroneous assumption that a customer’s overdraft tolerance was
    always $500. Id. at 22-23. In reality, Synovus’ 30(b)(6) witness, Robert Moody, testified that a
    customer’s overdraft tolerance could exceed $500. See DE # 3547-56 at 213:18 – 214:4, 217:6-
    10, 218:5-22. Second, Synovus historically approved at least 80% of transactions that went into
    overdraft. Id. at 183:25 – 184:18. Given the Bank’s history of approving the overwhelming
    majority of transactions into overdraft, the Bank’s suggestion that it would not have done so
    under a different posting order is unpersuasive.
            Finally, Mr. Olsen’s methodology is entirely consistent with what Synovus did prior to
    adopting the fee revenue enhancement recommendations of Carreker that were aimed at
    maximizing its overdraft fee revenue. Id. at 150:4-9, 151:4-8 (admitting checks were posted
    after debit card transactions). Synovus’ arguments regarding the consequences of altering the
    posting order fail to take into account these realities.
            4.       Credits and Refunds Do Not Preclude Class Certification. Also unpersuasive
    is Synovus’ claim that credits and refunds somehow preclude class certification. See DE # 3810,
    pp. 25-26. Just as he has done in the numerous other cases, Mr. Olsen can first determine the
    “raw differential” for each account – that is, the excess overdraft charges caused by the re-
    sequencing – and then reduce such amounts, on an account-by-account basis, to adjust not only
    for credits and refunds that were attributable to particular accounts, but also for uncollectables.
    See DE # 2547-59, ¶¶ 26-28, 45. Thus, for a customer who had a negative balance at account
    closure, Mr. Olsen can apply the “uncollectible” amount to reduce the damages for that customer

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    if this is deemed appropriate. Id. Mr. Olsen can use this methodology to calculate each Class
    member’s damages in this case. Id. at ¶ 45. Consequently, any offset the Bank may be entitled
    to against damages owed to Plaintiffs (or anyone else) will not reduce the recovery for any other
    Class members. Simply put, the conflict Synovus hypothesizes is nonexistent.
    E.        The Bank’s Misrepresentations Concerning the Nature and Scope of Its Form
              Contracts Do Not Undermine Certification.

              Synovus claims “this” case is unique because its relationship with its customers is
    governed by “potentially hundreds” of different contracts rather than the materially uniform
    contracts the other banks utilized. See DE # 3810, pp. 37-41, 48, 63-66. This is 100% wrong
    and indeed directly contradicts the documents and testimony Synovus provided during discovery.
              Plaintiffs served a document request on Synovus seeking “all versions of the Consumer
    Deposit Account Agreement provided to your consumer customers, and all documents regarding,
    referring to or relating to the Consumer Deposit Account Agreement.”              See Request for
    Production, p. 5 (Ex. D hereto). Synovus responded (without objection) that it would produce
    “exemplar” copies of its account agreements. Id.
              Plaintiffs also served a Rule 30(b)(6) deposition notice on the Bank that sought testimony
    on “any addenda, revisions, or modifications to Synovus’ Deposit Account Agreements [relating
    to posting order and NSF fees].” See Depo. Notice, pp. 6-7 (Ex. E hereto). Prior to the
    deposition of the Bank on this issue, Plaintiffs sought verification that they had indeed received
    all applicable contract versions. See July Email Exchange, p. 2 (Ex. F hereto) (“To the extent
    any account documents have changed since 2000, can you please forward us all applicable
    versions at least several days prior to the deposition on this Topic”). The Bank responded by
    identifying two versions of the Deposit Account Agreement that it had previously produced. Id.
    at 1-2.
              On the day before the Rule 30(b)(6) deposition on Synovus’ contracts, the Bank provided
    Plaintiffs with additional documents that included a third version of the Deposit Account
    Agreement. See Production Email (Ex. G hereto). Despite this untimely notice, Plaintiffs
    proceeded to question Synovus on all three versions of its agreement.5 See DE # 3547-57 at 4:6-


    5
      Contrary to Synovus’ assertions (see DE # 3810, p. 40), all three versions of the Deposit
    Account Agreement were referenced and submitted in support of Plaintiffs’ motion for class
    certification. See DE # 3547-27, 3547-28, 3547-50.

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    22; also Contract Spreadsheets (spreadsheets created by the Bank that break down the three
    applicable versions and label them the “2004 Agreement,” “2005 Agreement,” and “ 2010
    Agreement”) (Ex. H hereto).
           When such versions were effective, they were uniformly used in all Synovus branded
    banks. See DE # 3547-57 at 11:21 – 12:6 (“these are system generated. And we had standard
    systems at the time, so I would – I would expect that all Georgia banks would be using this
    form”), 21:6-12 (same for Alabama), 23:10-13 (Florida), 25:19-24 (South Carolina), 27:17-20
    (Tennessee). Customers were subject to the same effective version of the Deposit Account
    Agreement no matter where they opened their account.6
           Now, remarkably, Synovus disavows all of its prior sworn testimony and clear
    documentation by claiming that “hundreds” of materially different contracts may be involved.
    See DE # 3810, pp. 37-41, 48, 63-66. No matter how unhelpful the plain facts are to its current
    litigation position, Synovus cannot change them and it is far too late in this litigation for the
    Bank to reverse course.7
           The Bank also now argues for the first time that material differences exist as to whether
    the three versions of the Deposit Account Agreement disclosed the Bank’s order of posting. See
    DE # 3810, pp. 38-40 (arguing that 2005 Agreement expressly discloses the “order of posting”
    while 2004 and 2010 Agreements do not and, because such language is absent, individualized
    issues exist as to whether there is a contractual obligation of good faith). Synovus fails to
    recognize, however, that the parties’ contract consists of much more than the two-page Deposit
    Account Agreement. Indeed, all versions of the Agreement expressly incorporate numerous
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     Other than noting where the account was opened (and thus which state’s law governed – see
    DE # 3547-57 at 9:22 – 10:12), the three versions of the Deposit Account Agreement did not
    materially differ from state-to-state. See Contract Spreadsheet (Synovus spreadsheet breaking
    down the three versions of the contract by state and finding the operative terms the same).
    7
      The statement in Robert Moody’s declaration that there are numerous other versions of the
    Deposit Account Agreement that are applicable to customer accounts (see DE # 3810-6, ¶ 8) is
    directly contrary to the documents produced by Synovus during discovery, its counsel’s prior
    representations, the spreadsheet prepared by Synovus to address this issue, and Mr. Moody’s
    own deposition testimony. Indeed, Mr. Moody readily testified as Rule 30(b)(6) witness that
    Synovus’ operating systems and its posting and overdraft policies and practices are uniform
    across all of its branded banks and have been that way since at least the late 1990s. See DE #
    3547-8 at 49:13-15, 50:15-21; DE # 3547-56 at 123:6-18, 135:6 – 136:11, 152:4-20. Such
    automated uniformity could not possibly exist if the Bank was forced to adhere to materially
    different account terms and conditions for each individual customer.

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    other documents, including deposit account disclosures, funds availability policies, truth in
    savings disclosures, schedules of fees and charges, etc. E.g., DE # 3547-27, 3547-28, 3547-50
    (all noting that the customer “acknowledges receipt of a copy and agree[s] to the terms” of these
    and/or other documents and specifically that the customer agrees to be bound by “the schedule of
    charges that may be imposed”). In such other disclosures, the Bank has always made some
    disclosure as to the “order of posting.” See DE # 3547-57 at 12:19 – 14:12 (Bank explaining that
    it has always disclosed the “order of posting” to its customers in other documents, including the
    schedule of fees and on customer statements); 3547-51 (customer statement containing the
    “order of posting”); also Schedules of Fees (various versions of the schedule of fees from the
    Class period, all of which disclose a substantively identical “order of posting” that gives the
    Bank discretion to post charges “in any order we determine”) (Ex. I hereto).
           The Bank’s position that these “other” documents are not part of the contract (see DE #
    3810, p. 39 n.21) contradicts the language of the contracts themselves, and also renders every
    single overdraft fee charged by the Bank to be unlawful and a direct breach of contract. Indeed,
    no provision of any of the three versions of the two-page Deposit Account Agreement (in and of
    itself) authorizes the Bank to charge overdraft fees. E.g., DE # 3547-27, 3547-28, 3547-50.
    Clearly, the Bank relies on other documents to support such a right.           The Bank cannot
    legitimately deny here that such other documents are part of the contract.
           The Bank’s disclosures concerning its discretionary order of posting are part and parcel
    to each of the three versions of the Deposit Account Agreement and did not materially change
    throughout the Class period. See DE # 3547, pp. 18-20 (detailing the minor, non-substantive
    changes to the “order of posting” disclosures during the Class period and noting that none of
    them ever accurately described actual posting practices in any intelligible or honest manner).
           Synovus’ effort to manufacture differences between its contracts and those used by other
    banks in MDL 2036 is untenable. Synovus, like other banks, enforced multiple versions of a
    form contract during the subject class period (which comes as no surprise given that banks
    routinely reserve for themselves the discretion to change the contract). E.g., DE # 3547-27




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    (“From time to time we may amend any term of this agreement . . .”). That three versions of the
    contract exist is irrelevant, however, because they are all materially the same.8
    F.     The Rule 23(a) Requirements Are Satisfied.
           1.      Numerosity. In their motion, Plaintiffs introduced a spreadsheet prepared by the
    Bank showing that in any given year during the Class period, Synovus charged, on a single day,
    two or more overdraft fees based on debit card and/or ATM transactions to between 18,155 and
    40,592 unique accounts. See DE # 3547-49. Given that throughout the Class period Synovus
    posted transactions high-to-low, which its own Rule 30(b)(6) witness admits depletes an account
    balance faster than other posting orders and causes more overdraft fees (DE # 3547-56 at 138:18
    – 139:8), it is beyond legitimate dispute that at least thousands of accountholders “incurred an
    overdraft fee as a result of Synovus’ practice of sequencing debit card transactions from highest
    to lowest.” See DE # 3547, p. 1. Nonetheless, the Bank absurdly argues that this evidence is
    insufficient to prove that the numerosity requirement has been satisfied. See DE # 3810, pp. 61-
    62. The exact same evidence, however, has been sufficient in prior cases. E.g., Comerica, 286
    F.R.D. at 651 (finding numerosity requirement met based on similar evidence); TD Bank, 281
    F.R.D. at 667; Union Bank, 275 F.R.D. at 672-73 (rejecting notion that plaintiffs had to identify
    an alternative posting order before Court could find numerosity). The Bank has offered no sound
    reason for the Court to find otherwise.
           2.      Commonality.       Synovus claims many of the common issues identified by
    Plaintiffs – namely, issues number 1, 2, 5, and 6 – are irrelevant because none of the claims
    require proof of fraud or deception. See DE # 3810, pp. 62-63 (claiming issues such as whether
    the Bank provided inaccurate and misleading disclosures, including the failure to disclose
    Overdraft Courtesy and the Matrix, and/or the customer’s ability to opt out of such programs,
    and/or accurate balance information, have “no field of operation” as to Plaintiffs’ claims, which
    are based on high-to-low posting). While proof of fraud or deception may not be required to
    establish Plaintiffs’ claims, evidence thereof is definitely relevant to (a) proving several elements
    of such claims, including the Bank’s lack of good faith or objectively unreasonable conduct
    (good faith and fair dealing), that its actions were unjust (unjust enrichment), and/or procedurally


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      The Bank’s repeated claim that Plaintiffs failed to identify the provision of the contract that
    gives rise to their breach of good faith and fair dealing claims is not true. See DE # 3547, pp. 18-
    20 (describing the “order of posting” language that existed throughout the Class period).

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    and/or substantively unconscionable (unconscionability), and (b) refuting the affirmative
    defenses asserted by Defendants which require “full knowledge” (infra, pp. 20-21). Indeed, the
    Bank’s high-to-low mechanism did not exist in a vacuum and the harm incurred by Plaintiffs and
    the Class was greatly amplified by other cogs of the Bank’s overdraft machine, including
    secretive opt out abilities and the implementation of the Overdraft Courtesy and the Matrix credit
    lines. If Plaintiffs can prove the Bank’s failure to disclose these aspects of its machine using
    class-wide proof, it will go a long way to establishing liability on a class-wide basis. Wal-Mart
    Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011) (common issues that “drive the resolution of
    the litigation” are appropriately considered in the certification inquiry).
           The Bank next claims that because the evidence shows it did not re-sequence
    transactions, Plaintiffs cannot possibly prevail on issues which are dependent on this fact (i.e.,
    issues 3 and 4). See DE # 3810, pp. 62-63. Even if the Bank’s summary of the evidence as to
    re-sequencing were correct (which it is not), Defendants’ point underscores the notion that such
    issues can be resolved on a class-wide basis.9
           The common questions presented in Plaintiffs’ motion are exactly the types of questions
    contemplated by the Supreme Court in Dukes as satisfying the commonality requirement.
    Indeed, this Court has already found that substantially similar questions satisfied the
    commonality standard in several other decisions that were issued after Dukes. E.g., Comerica,
    286 F.R.D. at 652-53; TD Bank, 281 F.R.D. at 674; Union Bank, 275 F.R.D. at 673-74.
           3.      Typicality and Adequacy. Rule 23(a)(3)’s typicality requirement is satisfied
    where the class representatives’ claims and defenses arise out of the same course of conduct and
    are based on the same legal theory as those of the potential class. Kornberg v. Carnival Cruise
    Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984); Brown v. SCI Funeral Servs. of Fla., Inc., 212
    F.R.D. 602, 605 (S.D. Fla. 2003). Plaintiffs and the Class need not possess identical claims or


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      Transactions indisputably come to the Bank in some order. While this order may be random, as
    opposed to chronological, there is an order. Notably, such a random order would not be
    intentionally harmful to customers. Moreover, the Bank has detailed information as to the timing
    of debit card transactions and so knows precisely when they were made. This information is
    easily integrated at the time of posting. Indeed, many banks post debit card transactions in the
    order in which such transactions were authorized. Rather than post transactions in random or
    chronological order, the Bank used sophisticated software to re-order and post all transactions in
    a high-to-low order so as to generate more overdraft fees. See DE # 3547, pp. 6-17. The Bank’s
    claim that it did not “re-order” or “re-sequence” transactions is not well taken.

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    defenses, nor need they have been “affected in exactly the same way by defendant’s conduct . . .
    .” Brown, 212 F.R.D. at 605; also Union Bank, 275 F.R.D. at 674. Only a “marked” difference
    in the facts pertaining to the class representative and the class will destroy typicality. Union
    Bank, 275 F.R.D. at 674 (quoting Kornberg, 741 F.2d at 1337). The critical issue in determining
    typicality is whether the class representative’s claims have a strong similarity to those of the
    class, even where factual differences exist. Appleyard v. Wallace, 754 F.2d 955, 958 (11th Cir.
    1985). Meanwhile, Rule 23(a)(4)’s adequacy requirement is fulfilled if the class representatives
    do not have any “substantial” conflicts of interest with the class and will adequately prosecute
    the action. Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1189 (11th Cir. 2003).
            Here, Synovus impermissibly seeks to destroy typicality and adequacy by magnifying
    irrelevant differences among the Plaintiffs and questioning their capacity to represent others. See
    DE # 3810, pp. 26-36. Not surprisingly, courts have viewed with skepticism the motives of
    defendants who feign concern for the well-being of class members through such challenges:
    “[w]hen it comes, for instance, to determining whether ‘the representative parties will fairly and
    adequately protect the interests of the class,’ . . . it is a bit like permitting a fox, although with a
    pious countenance, to take charge of the chicken house.” See Eggleston v. Chicago Journeymen
    Plumbers’ Local Union No. 130, 657 F.2d 890, 895 (7th Cir. 1981). Plaintiffs easily withstand
    Synovus’ attacks.
                    a.      Plaintiffs’ Contracts Are the Same as Those of Class Members. The
    Bank claims Plaintiffs have not proven their claims are typical because they have not shown that
    the specific contracts that governed their accounts are the same as those of the putative Class
    members. See DE # 3810, pp. 38-39. The Bank, however, knows full well that the contracts
    signed by Plaintiffs are identical to the version of the Deposit Account Agreement Defendants
    have admitted was effective from 2005 to 2010 (i.e., throughout most of the Class period).
    Compare DE # 3547-27 (2005 Agreement) with DE # 2158-2, pp. 4-7 (Childs Contract) and DE
    # 14-2, pp. 16-17 (in Middle District of Georgia Civil Action File No. 4:12-cv-00027-CDL)
    (Green Contract) and Jenkins Contract (Ex. J hereto). That the Bank would waste the Court’s
    time with arguments that are easily disproven is unfortunate.




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                   b.     The Competing Georgia Class Does Not Make Mr. Green or the
    Childs Inadequate Class Representatives. The non-final state court settlement in Griner does
    not impact the adequacy of the named Plaintiffs who reside in Georgia. As Synovus concedes,
    even assuming the Griner settlement ultimately becomes final, Georgia residents Mr. Green and
    the Childs can continue to pursue their claims against Synovus by opting out of Griner and
    representing a class of other Georgia residents who are not included in the Griner settlement.
           Moreover, Synovus’ claims about the extent of recovery that Mr. Green and the Childs
    could stand to recoup in Griner versus the present case are quite misleading. Contrary to what
    Synovus would have the Court believe, Mr. Green is not necessarily entitled to $5,529.00 and
    Mrs. Childs is not necessarily entitled to $7,278.00 in the Griner settlement for two reasons.
    First, given that Mr. Green and the Childs received refunds of some of their overdraft fees from
    the Bank, they are not entitled to the alleged amounts that Synovus claims unless they submit
    documentation substantiating the amount of fees they incurred and how many of those fees were
    refunded. See generally Griner Claim Form (Ex. K hereto). Without such documentation, class
    members are not entitled to anything.
           In addition to the documentation requirements, Mr. Green and the Childs are only entitled
    to recover the full amount of their overdraft fees if the amount of claims submitted did not
    exceed the amount of the settlement fund. See Griner Agreement, pp. 7-8 (Ex. L hereto).
    Should that happen, members of the Georgia class are only entitled to a percentage of the total
    overdraft fees for which they can provide documentation. Id. at 8. The $16 million dollars
    available to the Griner class is plainly only a fraction of the total overdraft fees over the class
    period. Compare DE # 3547-35 (giving overdraft fee income for Class period as in excess of
    $313 million). Synovus’ claims regarding the impact of the Griner settlement are overstated.10
                   c.     The Purported Conflict Regarding the Alternative Sequence Sought Is
    Irrelevant. Synovus next claims that Mr. Green and Mrs. Childs are inadequate because they
    had different opinions as to how debit card transactions should be posted (i.e., chronologically
    vs. low-to-high). See DE # 3810, pp. 30-31. No conflict exists, and, even if it did, it would not
    defeat class certification. The fact is that Synovus’ overdraft scheme helped only one party,
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      Also unpersuasive is the Bank’s attempt to suggest a conflict between Mr. Green and the
    Childs, on the one hand, and Mr. Jenkins on the other. See DE # 3810, p. 28. Mr. Jenkins, as an
    Alabama resident, is not entitled to any recovery under the Griner settlement. Thus, there is no
    conflict between the named Plaintiffs resulting from Griner.

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    itself, and universally harmed the Class. The only variation relates to the amount by which
    individual Class members were harmed. Nearly every bank as to which the Court has certified
    classes has made this same disingenuous argument, and the Court has appropriately rejected it
    each time. Indeed in the class certification order in Capital One, this Court found it was:
           not persuaded that there exists an intra-class conflict over which alternative
           posting order should be used to calculate damages. To the extent individual
           preference with regard to posting order is relevant, there does not appear to be any
           competent evidence that class members would prefer a high-to-low posting order
           over any of the possible alternatives such as chronological or low-to-high…. If
           Plaintiffs establish Capital One’s liability, the evidence suggests that most if not
           all class members stand to benefit, regardless of the alternative posting order
           ultimately chosen by the fact-finder . . . .
    See DE # 2920-1, p. 18.
           Moreover, even if some conflict relating to alternative posting orders existed, it would
    not preclude class certification. For a conflict between the representative and the class to defeat
    class certification, it must be “a fundamental one, going to the specific issues in controversy.”
    See Pickett v. Iowa Beef Processors, 209 F.3d 1276, 1280 (11th Cir. 2000); see also Valley Drug,
    350 F.3d at 1189 (“the existence of minor conflicts alone will not defeat a party’s claim to class
    certification”). Here, a specific issue in controversy is whether Synovus’ high-to-low posting
    practices breached the duty of good faith and fair dealing. As all Class members will benefit if
    Plaintiffs prevail on these issues, there is no fundamental intra-class conflict. See James D.
    Hinson Elec. Contracting Co., Inc. v. BellSouth Telecommuns., Inc., 275 F.R.D. 638, 643 (M.D.
    Fla. 2011) (finding that no fundamental intra-class conflict existed when “[t]he specific issues in
    this controversy concern whether BellSouth’s billing practices were deceptive, fraudulent, or
    resulted in unjust enrichment,” and all class members would benefit if plaintiffs prevailed).
                   d.      Mr. Green’s Bankruptcy Does Not Preclude His Participation.
    Synovus attacks Mr. Green, contending that his initial failure to list this claim in a Chapter 13
    bankruptcy filing indicates intent to defraud and renders him inadequate and atypical Class
    representative based on the dishonesty of the omission. See DE # 3810, pp. 33-34. Just as this
    Court found previously in the PNC Bank case, bankruptcy should not preclude a named Plaintiff
    from serving as a class representative. See DE # 2697, pp. 24-25 (appointing Nicole and
    Michael Cowen as class representatives even though they had filed bankruptcy).




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            Mr. Green’s initial failure to list his claim against Synovus as an asset has absolutely no
    bearing on any of his creditors or on anyone else. Consequently, Mr. Green had no motive for
    concealment. Moreover, established case law recognizes that the omission must be considered
    inadvertent and irrelevant. See In re Coastal Plains, Inc., 179 F.3d 197, 210 (5th Cir. 1999);
    Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1285 (11th Cir. 2002)). In any event, as
    Synovus admits, Mr. Green has since gone back and amended his schedules to list this case as a
    potential asset. The failure to list this claim as an asset was inadvertent. Mr. Green’s bankruptcy
    will not become the focus of the litigation, does not create a conflict of interest, and has no effect
    on his ability to serve.
                    e.         Jeramie Childs Has Personally Suffered an Injury Resulting From
    Synovus’ Conduct. Synovus attacks the adequacy of Jeramie Childs by arguing that he has
    suffered no injury as a result of Synovus’ conduct because he was never formally added to his
    wife Natalie’s account. See DE # 3810, pp. 32-33. This argument completely ignores the fact
    that Mr. Childs deposited his paychecks into his wife’s account and thus, like his wife, paid
    overdraft fees that were the result of Synovus’ improper conduct. See N. Childs Depo., p. 125:2-
    6 (indicating that her husband’s payroll check was deposited into her account) (Ex. M hereto); J.
    Childs Depo., pp. 21:25 – 22:2 (testifying his money went into the account); 33:24 – 34:9
    (testifying that he made transactions that resulted in overdraft fees) (Ex. N hereto). Thus,
    irrespective of whether Mr. Childs was ever formally added to the account, he suffered injury as
    a result of Synovus’ improper overdraft practices because his money was deposited into the
    account and taken by Synovus in furtherance of its overdraft scheme. Mr. Childs’ status as a
    non-signatory does not prevent him from pursuing claims against Synovus. E.g., International
    Paper Co. v. Schwabedissen Maschinen & Anlagen GMBH, 206 F.3d 411, 413 (4th Cir. 2000).
                    f.         Mr. Jenkins Is an Adequate Class Representative. Defendants’ attacks
    on John Jenkins’ adequacy as a Class representative should also be rejected. Mr. Jenkins was not
    added as a named Plaintiff until after Plaintiffs filed their class certification motion, and
    Defendants did not produce documents relating to Mr. Jenkins until much later.11 Nevertheless,



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      As previously established by Plaintiffs, Synovus did not even produce the data needed for Mr.
    Olsen to perform his analysis of Mr. Jenkins’ statements until after Mr. Olsen’s deposition. See
    DE # 3815, p. 5, n.2; DE # 3815-3. Synovus’ attempt to blame Plaintiffs for this fact is
    disingenuous.
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    Mr. Jenkins’ contract with the Bank is substantially identical to the exemplar versions previously
    filed by Plaintiffs. Compare DE # 3547-27 with Jenkins Contract (Ex. J hereto).
           When the Court looks past all of Synovus’ rhetoric and hyperbole, it is clear that Mr.
    Jenkins is an adequate Class representative. Mr. Jenkins is a 69-year old electrician, who works
    at Fort Benning. See Jenkins Depo., pp. 8:24, 13:5-7 (Ex. O hereto). Mr. Jenkins has a firm
    understanding about what this case is about. Id. at 26:7 – 27:5, 35:8-18. He further understands
    his role as a Class representative in this case. Id. at 29:12 – 30:25. Not only did Mr. Jenkins sit
    for his deposition, but he assisted in the preparation of discovery responses as well. Id. at 115:4
    – 116:14. The testimony of Mr. Jenkins during his deposition is largely consistent with his
    signed declaration submitted in support of Plaintiffs’ motion for class certification. See, e.g., DE
    # 3547-6. While there is admittedly an inconsistency between his declaration, where he states he
    has reviewed the Second Amended Complaint, and his deposition testimony on that subject, the
    failure to remember having reviewed a complaint should not disqualify him from serving. See
    Jenkins Depo., p. 35:7 (noting that he does not “know much lawyer stuff”).
                   g.      Plaintiffs Need Not Prove They Are Young and Financially Illiterate
    in Order to Demonstrate Typicality and Adequacy. Synovus also argues that Plaintiffs
    cannot prove typicality or adequacy because they are neither young, nor financially illiterate (i.e.,
    the groups Plaintiffs claim were the most vulnerable to Synovus’ scheme). See DE # 3810, pp.
    66-67. These attributes, however, are not necessary pre-requisites for Class membership or for
    proof of any claim. Moreover, the law does not require the named Plaintiffs to be identically
    situated to all class members. E.g., Kornberg, 741 F.2d at 1337 (a “factual variation will not
    render a class representative’s claim atypical unless the factual position of the representative
    markedly differs from that of other members of the class”). Plaintiffs’ claims here arise out of
    the same course of conduct and are based on the same legal theories as those of the putative
    Class members. That they might not all be the same age or have the same amount of experience
    managing funds does not vitiate typicality or adequacy.
    G.     Common Issues Predominate Under Rule 23(b)(3).
           Common issues predominate. Synovus’ heavy reliance on Klay, Sacred Heart Health
    Systems, Inc. v. Humana Military Healthcare Services, Inc., 601 F.3d 1159 (11th Cir. 2010), and
    Vega v. T-Mobile USA, Inc., 564 F.3d 1256 (11th Cir. 2009), is unavailing (see DE # 3810, pp.
    63-66), as the facts in those cases were very different than those at issue here. In Klay, there

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    were many different defendants with many different contracts with many different provider
    groups. Moreover, because the defendants breached the contracts through a variety of means and
    differing computer algorithms that were not subject to generalized proof, each physician would
    have to prove a variety of individual circumstances leading to the breach. 382 F.3d at 1263-64.
    The same problem bedeviled the proposed class in Sacred Heart, where there were substantial
    variations in the terms of over 300 hospital contracts that were individually negotiated, leading
    the court to find that “the diversity of the material terms is overwhelming.” 601 F.3d at 1171-72.
    In Vega, different employees possessed markedly different levels of knowledge and
    understanding of the commission systems based on information they may or may not have
    received from the defendant. 564 F.3d at 1274-75.
           The facts in Klay, Sacred Heart, and Vega stand in sharp contrast to those here, where (1)
    the agreements at issue are uniform form contracts offered on a take-it-or-leave-it basis and were
    not the product of any individual negotiation, and (2) there is no evidence that Plaintiffs or any
    Class members learned the true nature of Synovus’ exploitative scheme, which includes the
    secret Overdraft Courtesy and Matrix lines of credit.
           1.      Common Issues Predominate for Each Legal Claim.
                   a.      Good Faith and Fair Dealing. The Bank’s attacks on Plaintiffs’ good
    faith and fair dealing claims all stem from faulty premises, namely that the contracts are not
    uniform or materially similar (wrong – supra, pp. 7-10), membership in the Class is not
    ascertainable (wrong – supra, pp. 3-5), and individual issues associated with Synovus’
    affirmative defenses defeat predominance (wrong – infra, pp. 20-22).
           The cases cited by Synovus are equally unpersuasive. See DE # 3810, pp. 42-43. For
    example, Avritt v. Reliastar Life Insurance Company, 615 F.3d 1023 (8th Cir. 2010), which was
    decided under Washington law not at issue here, emphasized that “what is objectively reasonable
    depends on the nature and the context of the parties’ bargain.” 615 F.3d at 1032. The Avritt
    plaintiffs relied on a dubious reading of the contract, causing the court to observe that “it is not
    clear that any members of the putative class, let alone a substantial number of them, originally
    understood the contract language in the manner the Avritts propose.” Id. at 1030. Moreover, the
    defendant in Avritt marketed its insurance policies through thousands of independent agents who
    were not required to follow any script and who were free to answer customers’ questions about
    the product. Id. at 1027. Given that decentralized and uncontrolled context, it was impossible to

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    hypothesize the objective consumer’s expectations. In contrast, Synovus marketed its own
    banking services through standardized account agreements, applied to all Class members
    consistently, and tightly regulated the information released to customers regarding overdraft
    services.   Given this context, the perspective of the reasonable consumer can readily be
    ascertained in this case. Contrast Stratton v. Am. Med. Sec., Inc., 266 F.R.D. 340, 351-52 (D.
    Ariz. 2009) (no “centrally orchestrated strategy” by the defendant to market the product); Rose v.
    SLM Fin. Corp., 254 F.R.D. 269, 272 (W.D.N.C. 2008) (disclosures in proposed mortgage
    refinance class actions were not uniform).
                   b.     Unjust Enrichment. Synovus argues that unjust enrichment claims are
    never appropriate for class treatment. See DE # 3810, pp. 52-55. However, where corporate
    policies constitute the focus of the plaintiffs’ claims, courts often find that common issues will
    predominate because such policies would necessarily have to be re-proven by every plaintiff if
    each claim were tried separately. E.g., Klay, 382 F.3d at 1257; Comerica, 286 F.R.D. 657-58;
    Union Bank, 275 F.R.D. at 680; James D. Hinson, 275 F.R.D. at 647; County of Monroe v.
    Priceline.com, Inc., 265 F.R.D. 659, 671 (S.D. Fla. 2010); In re Terazosin Hydrochloride
    Antitrust Litig., 220 F.R.D. 672, 698 (S.D. Fla. 2004); Ham v. Swift Transp. Co., Inc., 275 F.R.D.
    475, 487 (W.D. Tenn. 2011) (certifying an unjust enrichment claim because the basis of the
    claim was the same for all class members).
           Here, the focus of Plaintiffs’ unjust enrichment claim is Synovus’ systematic, uniform
    scheme to maximize overdraft revenue at the expense of its unsuspecting customers. Plaintiffs
    will use common evidence to show that (i) they and the Class members paid excessive overdraft
    fees to Synovus (i.e., the benefit), (ii) Synovus specifically recognized that its revenue would
    increase as a result of its scheme, and (iii) Synovus’ retention of such excessive fees is unjust.
    See DE # 3547-1, pp. 7-8.
           Synovus’ invocation of Vega is unpersuasive. See DE # 3810, p. 53. There, the court
    found that “many class members were told about, and fully understood, how the [challenged]
    procedure worked.” 564 F.3d at 1277. Here, however, there is no evidence that Plaintiffs or any
    Class members learned the true nature of the Bank’s exploitative scheme, which includes the
    highly secretive Matrix line of credit. Mere awareness of one aspect of the scheme, such as
    high-to-low posting, is only part of the equation.       Unlike in Vega, Synovus’ exploitative
    practices remained concealed and equally affected all Plaintiffs and the Class.

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           The Bank further argues that Plaintiffs cannot determine which specific overdraft fees are
    unjust because they have not proposed an alternative posting order or “damage model.” See DE
    # 3810, pp. 53-54. That Plaintiffs have not specified an alternative posting order is irrelevant as
    that determination will be made by the trier of fact. Whatever posting order is determined to be
    appropriate, Mr. Olsen is capable of evaluating Synovus’ data to determine the specific fees
    (incurred by both Plaintiffs and every Class member) which are unjust. See Olsen Decl., ¶¶ 42,
    45; Union Bank, 275 F.R.D. at 673. Synovus is thus incorrect in claiming that Plaintiffs are not
    capable of identifying via class-wide proof which fees are unjust.12
                   c.     Unconscionability. The Bank previously moved to dismiss Plaintiffs’
    unconscionability claim and such motion was denied by this Court. See DE # 2858. Rather than
    focus on the issue at hand (i.e., the certifiability of an unconscionability claim), Synovus has
    used its Brief as another vehicle to attack the claim’s validity. See DE # 3810, pp. 49-52
    (arguing unconscionability is not a recognized cause of action for affirmative relief and such a
    claim is inconsistent with a breach of contract claim). These stale arguments have already been
    rejected on multiple occasions by this Court and should not be readdressed here. E.g., In re
    Checking Account Overdraft Litig., 883 F. Supp. 2d 1251, 1255 (S.D. Fla. 2012); In re Checking
    Account Overdraft Litig., 694 F. Supp. 2d 1302, 1318-19 (S.D. Fla. 2010); In re Checking
    Account Overdraft Litig., 2013 WL 5774287, *9 (S.D. Fla. Oct. 24, 2013).
           Defendants briefly argue that the specific circumstances of each customer must be
    considered in determining the merits of the unconscionability claims. See DE # 3810, pp. 50-51.
    Synovus is wrong again, as the evidentiary presentation will focus on Synovus’ conduct and its
    records. That evidence will include proof of the Bank’s financial resources and sophistication in
    devising the overdraft fee program; the form contracts with boilerplate language that Synovus
    provided to all of its retail banking customers; the inaccurate balance information that Synovus
    provided to all Class members; Synovus’ common failure to provide Plaintiffs and the Class with
    any meaningful opportunity to opt out of the overdraft fee program; and consumer and employee
    complaints received by Synovus regarding the unfair and deceptive nature of the overdraft
    scheme. See DE # 3547-1, pp. 5-7. Synovus ignores Plaintiffs’ evidence and the fact that this
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       Synovus’ argument that Plaintiffs’ unjust enrichment claim is not a jury-triable claim is also
    unavailing. See Synovus Brief, p. 54; also e.g., State Farm Fire & Cas. Co. v. Silver Star Health
    and Rehab, 739 F.3d 579, 582, 584 (11th Cir. 2013) (affirming jury verdict on unjust enrichment
    claim); Shum v. Intel Corp., 499 F.3d 1272, 1279 (Fed. Cir. 2007).

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    Court certified similar sub-classes against numerous other banks in MDL 2036. As this Court
    already recognized, “Plaintiffs’ unconscionability claims focus on [the Bank] and its conduct,
    making them appropriate for certification.” Union Bank, 275 F.R.D. at 680; also Davis v. Cash
    for Payday, Inc., 193 F.R.D. 518, 522-23 (N.D. Ill. 2000) (certifying unconscionability class
    claim because common issues predominate); In re United Cos. Fin. Corp., 276 B.R. 368, 375-76
    (D. Del. 2002) (collecting cases)
           2.      The Bank’s Affirmative Defenses Do Not Vitiate Predominance. Synovus
    claims that some of its affirmative defenses require individualized proof and preclude
    certification. See DE # 3810, pp. 44-48, 54-55. Again, the Bank is wrong.
                   a.     “Full Knowledge” Defenses. Most of the affirmative defenses referenced
    by Synovus, including voluntary payment, waiver, and laches stem from the Defendants’
    allegation that certain Plaintiffs continued to pay overdraft fees after learning about Synovus’
    policies and practices. Id. Whether this is even the type of conduct that could, as a matter of
    law, support such defenses is a question this Court can answer on a class-wide basis. See Miller
    v. Optimum Choice, Inc., 2006 WL 2130640, *7 (D. Md. July 28, 2006) (common affirmative
    defenses “do not operate to destroy the predominance of common questions across the class, but
    [] instead provide an additional link of commonality between the class members.”).
    Furthermore, even if the conduct could trigger these defenses, they all require a party to have had
    full knowledge of the circumstances in order for the defense to prevail.13 E.g., Comerica, 286
    F.R.D. at 660; TD Bank, 281 F.R.D. at 678-79.


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      Voluntary Payment Doctrine: CIT Comm’n Fin. Corp. v. McFadden, Lyon & Rouse, LLC,
    37 So.3d 114, 127-28 (Ala. 2009); City of Key W. v. Fla. Keys Cmty. Coll., 81 So.3d 494, 500
    (Fla. Dist. Ct. App.); Anthony v. Am. Gen. Fin. Servs., Inc., 697 S.E.2d 166, 175 (Ga. 2010);
    Hardaway v. S. Ry. Co., 73 S.E. 1020, 1025 (S.C. 1912); Pratt v. Smart Corp., 968 S.W.2d 868,
    871 (Tenn. Ct. App. 1997).
    Waiver: Hughes v. Mitchell Co., Inc., 49 So.3d 192, 201 (Ala. 2010); Fireman’s Fund Ins. Co.
    v. Vogel, 195 So.2d 20, 24 (Fla. Dist. Ct. App. 1967); State Mut. Ins. Co. v. Harmon, 33 S.E.2d
    105 (Ga. Ct. App. 1945); Harrison v. Ballington, 498 S.E.2d 680, 682-82 (S.C. Ct. App. 1998);
    Arnold v. Locomotive Engineers Mut. Life & Acc. Ins. Ass’n, 204 S.W.2d 191, 195 (Tenn. Ct.
    App. 1946).
    Laches: Caudle v. First Fed. Sav. & Loan Ass’n, 327 So.2d 911, 912 (Ala. 1976); Chipola
    Valley Realty Co. v. Griffin, 115 So. 541, 542 (Fla. 1927); Hadden v. Thompson, 42 S.E.2d 125,
    127 (Ga. 1947); Newberry v. Newberry, 184 S.E.2d 704, 706-07 (S.C. 1971); Uffelman v. Boillin,
    82 S.W.2d 545, 569 (Tenn. Ct. App. 1935).

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           Plaintiffs and the Class members, however, did not have full knowledge of Synovus’
    overdraft scheme. The Bank did not disclose that it always posted high-to-low or that such order
    always resulted in the maximum number of assessed overdraft fees. E.g., DE # 3547-27 (2005
    Deposit Agreement), 3547-51 (customer statement vaguely noting that transactions are posted
    “in any order we determine” and the posting order “may” result in more service charges), 3547-
    29 (admitting online account information confusingly shows transactions in low-to-high order),
    3547-58 at 93:3-20. Moreover, even if a customer was aware of the high-to-low order, he or she
    had no idea of the level of impact such a system could have when implemented in conjunction
    with the Matrix (which was indisputably never disclosed to or discussed with customers – DE #
    3547-56 at 194:19 – 196:1, 234:3 – 235:5) and Overdraft Courtesy (which the Bank stopped
    disclosing in January 2006 “to avoid having to put the nsf information on statements” – DE #
    3547-31 at SNV-MDL00107252, 23). Customers were also not advised they could opt out of
    Synovus’ overdraft machine. E.g., DE # 3547-32 at SNV-MDL00047815, 3547-56 at 254:24 –
    255:7 (acknowledging customers are unaware that opting out was an option).
           Because Plaintiffs will use common evidence to show that they were precluded by
    Synovus from ascertaining full knowledge of the circumstances, affirmative defenses which
    require full knowledge do not defeat predominance.14             Union Bank, 275 F.R.D. at 678
    (deprivation of knowledge presents a critical common issue which “will undercut [the Bank’s]
    defenses by common evidence.”).
                   b.      Damage Defenses.         Many of the affirmative defenses referenced by
    Synovus, including waiver and voluntary payment, pertain to the amount of Plaintiffs’ damages.
    The Eleventh Circuit has repeatedly held that individual issues relating to damages do not defeat
    certification. See Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d 1248, 1261 (11th Cir. 2003),
    aff’d, 545 U.S. 546 (2005); Sacred Heart, 601 F.3d at 1178; also Sterling v. Velsicol Chem.
    Corp., 855 F.2d 1188, 1197 (6th Cir.1988). Similarly, mitigation of damages is not a barrier to



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       As found in Union Bank, “[t]o the extent [the bank] could prove that some customers learned
    of their secret line of credit or of their ability to opt out, yet continued to incur and pay overdraft
    fees, the presence of individualized defenses as to a small number of class members would not
    destroy the predominance of common liability questions.” 275 F.R.D. at 678 n.9; also Smilow v.
    Southwestern Bell Mobile, Sys., Inc., 323 F.3d 32, 39 (1st Cir. 2003); Dupler v. Costco
    Wholesale Corp., 249 F.R.D. 29, 45 (E.D.N.Y. 2008).

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    certification.15 E.g., Lane v. Kitzhaber, 283 F.R.D. 587, 599 (D. Or. 2012); City of Farmington
    Hills Emps. Ret. Sys. v. Wells Fargo Bank, N.A., 281 F.R.D. 347, 353 (D. Minn. 2012); In re
    Currency Conversion Fee Antitrust Litig., 264 F.R.D. 100, 116 (S.D.N.Y. 2010).
                     c.    Statutes of Limitations. As has been the case with the vast majority of
    the banks in this MDL, Synovus’ accounts are governed by the law of the state where the
    account was opened.16 See DE # 3547-28 (2010 Deposit Account Agreement for Georgia
    specifying Georgia law); 2547-57 at 16:18 – 17:13 (Bank representative testifying that Georgia
    version of Agreement governed all accounts opened in Georgia), 20:11-15 (same for Alabama
    version). Because Synovus does business in five states, it is undisputed that multiple statutes of
    limitations apply to Plaintiffs’ claims.
           Where class members may be subject to different statutes of limitations, class
    certification is not defeated because courts may create sub-classes to remedy the issue. E.g.,
    Brown, 212 F.R.D. at 608 (creating sub-classes where two distinct statutes of limitations
    governed class members’ claims). Here, Plaintiffs’ Trial Plan proposes specific sub-classes for
    their state law claims, each with its own start date linked to the applicable statute of limitations.
    This Trial Plan effectively handles the limited statute of limitation variations.
    H.     The Remaining Rule 23(b)(3) Requirements Are Satisfied.
           1.      Superiority. Recognizing they are sound, the Bank does not attempt to rebut the
    majority of Plaintiffs’ arguments as to why a class action is superior to the adjudication of
    thousands of small value cases. Synovus does, however, claim that this Court’s familiarity with
    the facts and law is irrelevant to the superiority requirement because the case will be returned to
    the originating court for trial. See DE # 3810, p. 67. While these cases may ultimately be tried

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      As Synovus itself admits, full knowledge of the practices at issue is clearly a pre-requisite of
    the defense. See DE # 3810, p. 47; also Shelley v. AmSouth Bank, 2000 WL 1121778, *11 (S.D.
    Ala. July 24, 2000) (noting that a failure to mitigate defense requires proof of full knowledge).
    16
       The Bank’s claim that it cannot ascertain where a customer opened his account except by
    pulling the customer’s file and reviewing his individual agreement is nonsensical. See DE #
    3810, p. 48. When a customer opens an account, Synovus’ system automatically records where
    the account was opened. See DE # 3547-57 at 35:7:25 (testifying that the automated system
    “populates the bank of the respective account” and this practice “is consistent across all
    branches”). Clearly, Synovus can easily determine where a customer opened his account. If this
    were not the case, Synovus could not have ascertained the members of the purported Griner
    settlement class. See DE # 3810, p. 56 (articulating Griner class definition as “all Georgia
    accountholders”).

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    elsewhere, there is much pre-trial work left to do, including discovery and dispositive motions.
    This Court’s familiarity with the facts and law makes it ideally suited to address these issues on a
    class-wide basis. Klay, 382 F.3d at 1271 (“it is desirable to concentrate claims in a particular
    forum when that forum has already handled several preliminary matters”).
           2.      Manageability. Defendants claim that Plaintiffs’ Trial Plan is “replete with
    inconsistencies,” which makes a trial unmanageable.        See DE # 3810, p. 67 (arguing that
    Plaintiffs’ Motion proposes two sub-classes, while their Trial Plan proposes five sub-classes).
    This is incorrect as the Motion and Trial Plan both clearly identify a total of five sub-classes –
    two good faith and fair dealing sub-classes, two unjust enrichment sub-classes, and one
    unconscionability class. Compare DE # 3547 with DE # 3547-1, pp. 11-13. The Bank’s effort
    to manufacture inconsistencies where none exist to attempt to prove unmanageability is specious.
    I.     Neither the Non-Final Griner Settlement Nor the Bank’s Contingent Arbitration
           Motion Preclude Certification of the Proposed Class.

           Synovus claims that two subsets of the proposed Class, specifically (1) all Georgia
    customers whose claims will be released in proposed Griner settlement and (2) all customers
    whose accounts remain open as of September 24, 2013 (after the Bank unilaterally inserted an
    arbitration clause into its Deposit Account Agreement), should be excluded from any Class that
    is certified by this Court. See DE # 3810, pp. 55-60. However, the Bank cannot dispute that the
    Griner settlement is not final and/or that its request to compel arbitration has not been granted.17
    Defendants’ request that this Court should exclude large subsets of the proposed Class before
    these necessary events have occurred is baseless. Quite the contrary, if these necessary events
    ever materialize, the Court can modify the Class definition to address them. For example, the
    Court can exclude all Georgia customers who are class members in Griner and who do not



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       The Bank itself asserts that its arbitration argument is contingent upon the Court first granting
    Plaintiffs’ class certification request. See DE # 3809 at 1. While Plaintiffs do not agree with
    Synovus’ position, and note that this Court has previously found to the contrary in MDL 2036
    (see DE # 3415), Plaintiffs agree that this Court should defer consideration of Synovus’
    contingent arbitration motion until after a decision is made on class certification. Plaintiffs also
    vehemently challenge the viability of Defendant’s newfound attempt to compel arbitration of
    claims that it has been actively litigating for nearly five years based on a clause it unilaterally
    forced upon its customers long after this litigation commenced. See DE # 3826 (summarizing
    the meritlessness of Synovus’ arbitration request).

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    timely opt out of the settlement. The Court could also exclude any customer who is found to be
    subject to an enforceable arbitration clause in this case.18
           Equally without merit is the Bank’s claim that Plaintiffs cannot establish numerosity if
    the subsets of putative Class members identified above are excluded. See DE # 3810, pp. 58, 60.
    Even assuming arguendo the Griner settlement is finalized (and very few opt out) and Synovus
    prevails in full on its five-years-late arbitration motion, a Class consisting of many thousands of
    Alabama, Florida, South Carolina, and Tennessee customers who closed their accounts prior to
    September 24, 2013, would still exist. E.g., DE # 3810, pp. 58-60 (acknowledging that some
    Synovus accounts, including those of all the Plaintiffs, were closed as of September 24, 2013),
    DE # 3810-6, ¶ 24 (admitting that 39% of Synovus accounts during the Class Period were non-
    Georgia accounts); also DE # 3547-49 (noting that between 18,155 and 40,592 unique accounts
    were charged two or more overdraft fees per day each year of the Class period). The Bank’s
    insinuation that there would not be enough putative class members to establish numerosity (i.e.,
    at least 40) is frivolous. Vega, 564 F.3d at 1267.
                                          III.    CONCLUSION
           Plaintiffs have demonstrated that they satisfy all of the elements of Rule 23(a) and (b)(3).
    The class action mechanism is not only the best and most efficient way to adjudicate the Class
    members’ claims in this case, it is also the only viable method of doing so. For all of the
    foregoing reasons, and for the reasons set forth in Plaintiffs’ opening brief, Plaintiffs respectfully
    request that the Court grant their motion to certify the Class and sub-classes pursuant to Federal
    Rule 23(b)(3).




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      The Bank claims that if the Court certifies the proposed Class, “it will [] be confronted with a
    motion to dismiss based on abstention or in the alternative, to stay further proceedings based
    upon the Colorado River doctrine.” See DE # 3810, pp. 57-58. The Court should not be
    dissuaded by this threat. Plaintiffs deny that either abstention or a stay would be warranted
    under these facts and will respond to any such Colorado River motion if and when it is filed.

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           Dated: April 17, 2014.
                                          Respectfully submitted,

    /s/ Aaron S. Podhurst                             /s/ Bruce S. Rogow
    Aaron S. Podhurst, Esquire                        Bruce S. Rogow, Esquire
    Florida Bar No. 063606                            Florida Bar No. 067999
    apodhurst@podhurst.com                            brogow@rogowlaw.com
    Robert C. Josefsberg, Esquire                     BRUCE S. ROGOW, P.A.
    Florida Bar No. 40856                             Broward Financial Center
    rjosefsberg@podhurst.com                          500 E. Broward Boulevard
    Peter Prieto, Esquire                             Suite 1930
    Florida Bar No. 501492                            Fort Lauderdale, FL 33394
    pprieto@podhurst.com                              Tel: 954-767-8909
    John Gravante, III, Esquire                       Fax: 954-764-1530
    Florida Bar No. 617113
    jgravante@podhurst.com
    PODHURST ORSECK, P.A.
    City National Bank Building
    25 W. Flagler Street, Suite 800
    Miami, FL 33130
    Tel: 305-358-2800
    Fax: 305-358-2382

                                      Co-Lead Counsel for Plaintiffs

    /s/ Robert C. Gilbert
    Robert C. Gilbert, Esquire
    Florida Bar No. 561861
    rcg@grossmanroth.com
    Stuart Z. Grossman, Esquire
    Florida Bar No. 156113
    szg@grossmanroth.com
    David M. Buckner, Esquire
    Florida Bar No. 60550
    dbu@grossmanroth.com
    Seth E. Miles, Esquire
    Florida Bar No. 385530
    sem@grossmanroth.com
    GROSSMAN ROTH, P.A.
    2525 Ponce de Leon Boulevard
    Eleventh Floor
    Coral Gables, FL 33134
    Tel: 305-442-8666
    Fax: 305-779-9596

    Coordinating Counsel for Plaintiffs

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    /s/ E. Adam Webb                             /s/ Michael W. Sobol
    E. Adam Webb, Esquire                        Michael W. Sobol, Esquire
    Georgia Bar No. 743910                       California Bar No. 194857
    Adam@WebbLLC.com                             msobol@lchb.com
    Matthew C. Klase, Esquire                    Roger N. Heller, Esquire
    Georgia Bar No. 141903                       California Bar No. 215348
    Matt@WebbLLC.com                             rheller@lchb.com
    G. Franklin Lemond, Jr., Esquire             Jordan Elias, Esquire
    Georgia Bar No. 141315                       California Bar No. 228731
    FLemond@WebbLLC.com                          jelias@lchb.com
    WEBB, KLASE & LEMOND, L.L.C.                 LIEFF CABRASER HEIMANN &
    1900 The Exchange, S.E.                        BERNSTEIN L.L.P.
    Suite 480                                    Embarcadero Center West
    Atlanta, GA 30339                            275 Battery Street, 30th Floor
    Tel: 770-444-9325                            San Francisco, CA 94111
    Fax: 770-217-9950                            Tel: 415-956-1000
                                                 Fax: 415-956-1008


    /s/ Russell W. Budd                          /s/ David S. Stellings
    Russell W. Budd, Esquire                     David S. Stellings, Esquire
    Texas Bar No. 03312400                       New York Bar No. 2635282
    rbudd@baronbudd.com                          dstellings@lchb.com
    BARON & BUDD, P.C.                           LIEFF CABRASER HEIMANN &
    3102 Oak Lawn Avenue                         BERNSTEIN L.L.P.
    Suite 1100                                   250 Hudson Street
    Dallas, TX 75219                             8th Floor
    Tel: 214-521-3605                            New York, NY 10013
    Fax: 214-520-1181                            Tel: 212-355-9500
                                                 Fax: 212-355-9592

    /s/ Ruben Honik                              /s/ Ted E. Trief
    Ruben Honik, Esquire                         Ted E. Trief, Esquire
    Pennsylvania Bar No. 33109                   New York Bar No. 1476662
    rhonik@golombhonik.com                       ttrief@triefandolk.com
    Kenneth J. Grunfeld, Esquire                 Barbara E. Olk, Esquire
    Pennsylvania Bar No. 84121                   New York Bar No. 1459643
    kgrunfeld@golombhonik.com                    bolk@triefandolk.com
    GOLOMB & HONIK, P.C.                         TRIEF & OLK
    1515 Market Street                           150 E. 58th Street
    Suite 1100                                   34th Floor
    Philadelphia, PA 19102                       New York, NY 10155
    Tel: 215-985-9177                            Tel: 212-486-6060
    Fax: 215-985-4169                            Fax: 212-317-2946

                                   Plaintiffs’ Executive Committee
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:09-MD-02036-JLK


    IN RE: CHECKING ACCOUNT
    OVERDRAFT LITIGATION

    MDL No. 2036


                                     CERTIFICATE OF SERVICE

           I hereby certify that on April 17, 2014, I electronically filed the foregoing document with
    the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
    this day on all counsel of record or pro se parties identified on the attached Service List in the
    manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
    or in some other authorized manner for those counsel or parties who are not authorized to receive
    electronically Notices of Electronic Filing.

                                                                /s/ Robert C. Gilbert
                                                                Robert C. Gilbert, Esquire
                                                                Florida Bar No. 561861
                                                                GROSSMAN ROTH, P.A.
                                                                2525 Ponce de Leon Boulevard
                                                                Eleventh Floor
                                                                Coral Gables, FL 33134
                                                                Tel: 305-442-8666
                                                                Fax: 305-779-9596




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